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Timothy C. Rote
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Pro Se Plaintiff




                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON



TIMOTHY ROTE,                           Case No.: 3:22-CV-00985

      Plaintiff,

      vs.

OREGON JUDICIAL DEPARTMENT,                PLAINTIFF’S DECLARATION OPPOSING
OREGON STATE BAR PROFESSIONAL              THE JUDICIAL DEFENDANTS’ MOTION
LIABILITY FUND, THE HON. ANN               TO DISMISS
LININGER,THE HON. ALISON
EMERSON, THE HON. JOSEPHINE
MOONEY, THE HON. JACQUELINE
KAMINS, THE HON. KATHIE STEELE,
CAROL BERNICK AND MEGAN
LIVERMORE (in their official capacities as
CEO of the OSBPLF), MICHAEL WISE,
JEFFREY EDELSON, DESCHUTES
COUNTY SHERIFF’S DEPARTMENT,
MATTHEW YIUM, NATHAN STEELE,
WARD GREENE, ANTHONY
ALBERTAZZI and JOHN DOES (1-5), et al.,

      Defendants.


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  I, TIMOTHY ROTE, do hereby declare:

  1. I represent myself in the above-captioned case. I make this declaration on personal

  knowledge and am competent to testify to the matters stated herein.

  2. Exhibit 1 is a true and correct copy of the September 20, 2021 hearing transcript wherein

  Michael Wise acknowledged a Motion to recuse HIM and made statements on the record

  implicating communication with Ann Lininger and Kathie Steele about cases 18cv45257 and

  19CV01547. During that hearing Wise acted unlawfully in both having a hearing and

  entertaining argument on his recusal. He also and falsely claimed he was recently sued for

  what sounded like malpractice and the PLF hired Matt Kalmanson to represent him. In fact,

  and after reaching out to Kalmanson, I was able to confirm that the event Wise referred to

  was not malpractice and happened more than 10 years ago.

  3. Exhibit 2 is a true and correct copy of the PLF Defendant’s Motion to Dismiss and

  separate anti-SLAPP Motion to Strike, followed by my subpoena and Motion to Compel

  production of the representation agreement between the PLF and Max Zweizig. Wise granted

  that Motion after the September hearing. No order granting the PLF’s Motion to quash has

  been signed.

  4. Exhibit 3 is a true and correct copy of Albertazzi’s combined anti-SLAPP Motion and

  Motion to Dismiss. I never served the Third Amended Complaint to Albertazzi identifying

  Albertazzi as a defendant in my RICO claim. Albertazzi did not file a waiver of service of the

  third amended complaint. Wise was well aware that the Third Amended Complaint was not

  served but granted the Motion to Dismiss and anti-SLAPP anyway after the September 20th

  hearing.




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  5. Exhibit 4 is a true and correct copy of the January 12, 2022 limited judgment dismissing

  the claims against Albertazzi in case 18cv45257. The limited judgment was signed by Judge

  Kathie Steele. I did not receive Notice of the entry of judgment from Clackamas County

  Court.

  6. Exhibit 5 is a true and correct copy of the January 25, 2022 limited judgment dismissing

  the claims against the PLF defendants in case 18cv45257. The limited judgment was signed

  by Judge Kathie Steele. Judge Steele has been a defendant in case 3:19-cv-01988 since early

  2019 when it was filed and disqualified as to that 18cv45257 action. I did not receive Notice

  of the entry of judgment from Clackamas County Court.

  7. Exhibit 6 is a true and correct copy of Albertazzi’s attorney fee petition declaration bhy

  Nathan Steele, his billing detail and my objection to that fee petition. Although half the time

  associated with Nathan Steele’s time representation of Albertazzi was connected to a Motion

  to Dismiss (wherein fees may not be awarded), Judge Wise ignored those rules and awarded

  twice what Albertazzi was allowed under ORS 31.152 (3) and ORS 20.075 (2) (a). The time

  associated with the anti-SLAPP is all that should have been awarded. I deduced that the PLF

  has set the budget for anti-SLAPPs and Motions to Dismiss at $20,000. Nathan Steele’s 86

  hours for this activity is in stark contrast to the same effort by Mathew Yium in the PLF’s fee

  petition, which showed 27 hours and approximately $7,000 for the anti-SLAPP portion and

  essentially the same anti-SLAPP Motion.

  8. Exhibit 7 is a true and correct copy of an April 18, 2022 order and limited judgment

  awarding legal fees to Albertazzi. I did not receive notice of the entry of judgment from

  Clackamas County Court. This order and judgment was executed by Wise after his pro tem




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  status expired. As the Court may well be aware, pro tem Judges must be appointed by the

  Supreme Court of Oregon.

  9. I suspected something was amuck with Wise after Judge Steele signed the limited

  judgments in January 2022. I noted that the published list of pro tem Judges did not include

  Michael Wise. I inquired of the Oregon Judicial Department if Wise was still a pro tem Judge

  and was informed he was not. I asked the Judicial Department to communicate to Clackamas

  Court that Wise was not authorized to be functioning as a pro tem Judge.

  10. Exhibit 8 is a true and correct copy of an order issued by the Supreme Court of Oregon

  appointing Wise as a pro tem Judge from July 21, 2022 through December 31. I have already

  moved to set aside the limited judgments signed by Steele and Wise in 2022.

  11. Exhibit 9 is a true and correct copy of the PLF’s fee petition and my objection to that

  petition. Most notably the PLF is pursuing $70,000 on a Motion to Dismiss. As my objection

  shows, only 28.7 hours and $7,175 in fees from Matthew Yium are for the anti-SLAPP

  Motion to Strike claims against Nena Cook. The balance of the time is for the Motion to

  Dismiss the claims against the PLF, Bernick and Stendahl, claims for breach of contract and

  breach of fiduciary duty by the PLF and PLF managers. Bernick was the CEO and Stendahl

  the claims adjuster. Approximately $31,000 of the fee petition is for the pre 9th Circuit

  mandate, the fees of which were incurred by the PLF group attempting to prevail in a 9th

  Circuit appeal I brought when Michael Mosman dismissed the complaint. I prevailed in that

  appeal. Approximately $10,000 is unsupported by the billing detail.

  12. The judicial defendants have gone out of their way to support and award excessive fees

  on two of the anti-SLAPP fee petitions referenced in this case, fees that are unrelated to the

  anti-SLAPP and far exceed the fees authorized under ORS 31.152 (3) and described in ORS



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  20.075 (2) (a), which is interpreted to mean fees incurred for the anti-SLAPP proceeding.

  The term “proceeding” is specifically referenced in ORS 20.075 (2) (a).

  13. In Ward Greene fee petition the billing detail showed that only $7,000 out of his $20,970

  award was actually incurred and otherwise having a nexus to the anti-SLAPP proceeding. In

  Albertazzi’s award the underlying billing detail provided by Nathan Steele showed only

  $10,000 of the $20,000 awarded was reasonably connected to the anti-SLAPP. In the PLF’s

  fee petition, while not awarded as yet, Matthew Yium and the PLF obviously feel

  comfortable asking for $70,000 even though their billing detail only shows that $7,175 has

  any nexus to the anti-SLAPP.

  14. Plaintiff is reasonably sophisticated compared to most pro se litigants and it’s this level

  of experience with hourly billing that has allowed Plaintiff to generate and file reports

  showing hoe excessive the fee petitions are. I have repeated been forced to take the very

  marginal accounting by the attorney defendants and put the billing statements into a detailed

  spreadsheet. That activity then allows me to summary the time and billing amounts by

  category of effort to identify the excessive fees and the fees unrelated to the anti-SLAPP.

  Even when this detailed analysis is presented to the judicial defendants, when it is also un-

  refuted by the attorney defendants, the judicial defendants nonetheless award the entire fee

  petition. Moreover the latest order and opinion from the Oregon Court of Appeals states that

  it is unreasonable for Plaintiff to appeal an award of fees in an anti-SLAPP when those fees

  are unrelated to an anti-SLAPP and violate Oregon law.

  15. In the latest of the order and opinions from the judicial defendants it is clear that the

  Oregon judicial defendants wish to hang their judicial hats on a statement that there was no

  request for special findings under ORCP 68. Judge Kamins and Mooney made that statement



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  in their opinion and order, Doc 18-19. Judge Wise made a similar statement on the record in

  a June 2022 rehearing of my objection to the form of the order and limited judgment he

  signed in April 18, 2022. It appears that the Oregon judicial department is attempting to hide

  these constitutional violations under an ORCP 68 umbrella wherein they believe they are

  entitled to use their positions of power to breach substantive due process, even when the

  billing records and opposition argument shows very clearly the limits to what may be

  awarded for the anti-SLAPP. It makes me cringe to think how less sophisticated pro se

  litigants are treated.

  16. The attorney defendants provided highly redacted billing detail and unsubstantiated

  conclusions on the amounts that should be rewarded in these anti-SLAPP proceedings.

  Providing those billing statements without any effort to organize and accumulate hours and

  amounts to specific categories of effort supporting an anti-SLAPP is prima facie evidence

  that these attorney defendants are knowingly engaged in this tactical effort and are therefore

  adding and abetting in procedural and substantive due process.

  17. As I have explained many times now, Zweizig committed perjury in case 3:15-cv-2401

  with the assistance of counsel to secure a $1 Million judgment. The forensic evidence

  suppressed in that trial included testimony and reports showing Zweizig used his assigned

  business computer hard drive to accumulate child pornography and made that filth available

  to other predators accessing his computer from the internet. Similar litigants like Joshua

  Duggar have been convicted of criminal possession and distribution of child porn on less

  evidence than suppressed in Zweizig’s federal case. In Zweizig’s December 21, 2020

  deposition in case 19cv01547 Zweizig admitted that Ward Greene resigned wanting to

  distance himself from Zweizig, distance himself and his firm from those forensic reports and



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  the inherent conclusion that Zweizig is an active predator who has raped numerous children.

  Zweizig then with the help of Albertazzi filed a Motion to suppress his deposition from the

  public arguing that he would not be able to have a fair jury trial in case 19cv01547 if they

  knew of his child porn, if they knew of his admissions in that December deposition and his

  perjury in that case. The PLF stepped up to represent Zweizig free of charge in case

  19cv01547 knowing he was an active child predator who had already lied to a jury. And now

  the PLF is colluding with the Oregon Judicial Department to use the anti-SLAPP to tag me

  with an exorbitant amount of attorney fees in what is objectively provable as collusion

  among the defendants.

  18. Exhibit 10 is a true and correct copy of a transcript from a hearing in case 19cv01547.

  That hearing addressed two subjects. The first was Zweizig’s Motion to suppress his

  deposition of December 21, 2020, wherein he admitted to lying to the jury in case 3:15-cv-

  2401. In that same deposition, Zweizig admitted that his former attorney Ward Greene no

  longer wanted to be associated with Zweizig and the raping of children after reviewing the

  forensic reports, an excerpt of one of which is attached hereto as Exhibit 12.

  19. Exhibit 11 is a true and correct copy of a news post summary of a computer forensic

  expert’s testimony in the Josh Duggar trial in December 2021. Duggar partitioned his hard

  drive into two sectors just as Zweizig did. Duggar maintained his regular business records

  and email on one sector while keeping his child pornography on the other sector. Zweizig did

  the same thing, as police officer Steve Williams opined in August 2005. They used the same

  or similar peer to peer program to exchange the child porn with other predators over the

  internet. Duggar was convicted and is now in prison.




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  20. Exhibit 12 is a true and correct excerpt of a report issued by Police officer and computer

  forensic expert Steve Williams. The full report provides names of the child porn videos

  downloaded and maintained by Zweizig from May 2002 to November 12, 2003, when

  Zweizig re-formatted the hard drive. Josh Duggar did not have an opportunity to reformat the

  hard drive and destroy evidence. All three forensic experts hired during an arbitration

  between Zweizig and one of my companies opined that Zweizig downloaded and

  disseminated child porn, porn, music and videos. One of the forensic experts was hired by

  Zweizig.

  21. Exhibit 13 is a true and correct copy of a letter issued by Judge Michael Wetzel,

  presiding Judge of Clackamas County Court. This letter confirms the status of Michael Wise.



  I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF

  MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE

  AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY.



     Dated: August 31, 2022


                                              s/ Timothy C. Rote
                                              Timothy C. Rote
                                              Plaintiff Pro Se




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                             CERTIFICATE OF SERVICE
I hereby certify that on August 31, 2022, I filed the foregoing with the Clerk of the Court.
Defendants have been served electronically through the Court’s ecf system and I have also
provided a courtesy copy by mail.

NATHANIEL AGGREY #172283
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                                                            s/ Timothy C. Rote
                                                            Timothy C. Rote
                                                            Pro Se Plaintiff




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